Case 2:05-cV-02283-.]DB-tmp Document 9 Filed 08/10/05 Page 1 of 2 Page|D 21

IN THE UNITED sTATES DISTRICT coURT ‘\""1@-5’1-`" -- -
FoR THE wEsTERN DISTRICT oF TENNESSEE n n _! _LO
wEsTERN DIVISION 05 EXUU §§ Ph 3- :u

 

 

HOWARD TERRY,
Plaintiff,
VB.

Civ. NQ. 05-2283-B[P

MEMPHIS HOUSING AUTHORITY,
et al.,

v`.r~_¢`.¢~_/\_d'\./V'~.r'\_#v

Defendants.

 

AMENDED SCHEDULING ORDER

 

The echeduling order is amended as followe:

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: MarCh 21, 2006

All other dates, including the August 14, 2006 trial date,
shall remain the same.
IT IS SO ORDERED.

TU M.
United Statee Magietrate Judge

pfde \OI_ LG:QX'

Date U

 

UNITED`TATES DISTRICTCOURT - WESERNDISTCRIT oFTi\INEESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Honorable J. Breen
US DISTRICT COURT

